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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

 EARL PARRIS, JR., et al.,

                Plaintiffs,

        v.                               Civil Action No.: 4:21-cv-40-TWT

 3M COMPANY, et al.,

                Defendants.

                   NOTICE OF APPEARANCE OF JAMES HOLLIS
               ON BEHALF OF DEFENDANT DAIKIN AMERICAN, INC.

       James Hollis of Balch and Bingham LLP, hereby notifies the Court, the Clerk of Court,

opposing counsel, and all parties of his appearance as counsel for Defendant Daikin America,

Inc. in this action.



                               [Signature on Following Page]
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Respectfully submitted this 27th day of September, 2022

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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
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 EARL PARRIS, JR., et al.,

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 3M COMPANY, et al.,

               Defendants.
                               CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on September 27, 2022, I electronically filed the forgoing

NOTICE OF APPEARANCE OF JAMES HOLLIS ON BEHALD OF DEFENDANT

DAIKIN AMERICA, INC. with the Clerk of Court by using the CM/ECF system, which has

notified all counsels of record.



                                    /s/ James L. Hollis
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